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                                  UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF CONNECTICUT
                                         HARTFORD DIVISION

 IN RE:                                                       : CHAPTER 13
 MICHAEL J. PETRELLA                                          : CASE NO. 19-21275-JJT
                                                              : June 12, 2025
           Debtor(s)
     NOTICE OF FINAL CURE PAYMENT AND COMPLETION OF PLAN PAYMENTS
Pursuant to Fed. Bankr. Rule 3002.1(f), the Trustee files Notice that the amount required to cure the default in the below

claim has been paid in full and the debtor has completed payments under the Plan.

  Name of creditor: SN SERVICING CORPORATION. Court Claim No. 007

  Last four digits of any number used to identify the debtor's account: 6320.




Final Cure Amount                                                 Amount of Prepetition Mortgage Arrearage
                                                                  $27,307.69

                                                                  Amount Paid by Trustee
                                                                  $27,307.69

Monthly ongoing Mortgage Payment
Mortgage is paid directly by the debtor
                                                          Yes X                      No




          Within 21 days of the service of this Notice, the creditor must file and serve on the debtor, debtor's counsel and

the trustee, a statement as required under Fed. Bankr. Rule 3002.1(g), indicating whether it agrees that the debtor has paid

in full the amount required to cure the default and whether, consistent with Sec. 1322(b)(5) the debtor is otherwise current

on all payments. The statement should itemize the required cure or post-petition amounts, if any, that the holder contends

remain unpaid as of the date of the statement.

Dated: June 12, 2025
                                              /s/ Roberta Napolitano, Trustee
                                              Roberta Napolitano, Trustee
                                              Chapter 13 Standing Trustee
                                              10 Columbus Blvd., 6th Floor
                                              Hartford, CT 06106 Tel: (860) 278-9410
                                              Email: rnapolitano@ch13rn.com
                                              Federal Bar No.: tr08378
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IN RE:                                           : CHAPTER 13
MICHAEL J. PETRELLA                              : CASE NO. 19-21275-JJT
                                                 : June 12, 2025
       Debtor(s)


                          TRUSTEE'S CERTIFICATE OF SERVICE


       I, Roberta Napolitano, Chapter 13 Trustee of the within estate, do hereby certify that on June
12, 2025, I caused one copy of the within Notice of Final Cure Payment and Completion of Plan
Payments to be served by either the court's electronic noticing system or by United States Mail,
Postage Prepaid, on the following:

MICHAEL J. PETRELLA
306 BRIMFIELD ROAD
WETHERSFIELD, CT 06109

Served electronically:
ATTORNEY FOR THE DEBTOR(S): NEIL CRANE, ESQ.: Neilecf@neilcranelaw.com.

SN SERVICING
CORPORATION
323 FIFTH STREET
EUREKA, CA 95501




                                    /s/ Roberta Napolitano
                                    Roberta Napolitano
                                    Chapter 13 Standing Trustee
                                    10 Columbus Blvd., 6th Floor
                                    Hartford, CT 06106
                                    Tel: (860) 278-9410
                                    Email: rnapolitano@ch13rn.com
                                    Federal Bar No.: tr08378
